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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 KEYLA D. BELL, Individually and on             Case No:
 behalf of all others similarly situated,
                                                CLASS ACTION COMPLAINT
       Plaintiff,                               FOR VIOLATIONS OF THE
                                                FEDERAL SECURITIES LAWS
       v.
                                                JURY TRIAL DEMANDED
 KANZHUN LIMITED, PENG ZHAO,
 YU ZHANG, XU CHEN, and TAO
 ZHANG,

       Defendants.



      Plaintiff Keyla D. Bell (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon

personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by

and through his attorneys, which included, among other things, a review of the


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Defendants’ public documents, conference calls and announcements made by

Defendants, public filings, wire and press releases published by and regarding

Kanzhun Limited (“Kanzhun” or the “Company”), and information readily

obtainable on the Internet. Plaintiff believes that substantial evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

                         NATURE OF THE ACTION

      1.     This is a class action on behalf of persons or entities who purchased

or otherwise acquired publicly traded Kanzhun securities between June 11, 2021

and July 2, 2021, inclusive (the “Class Period”). Plaintiff seeks to recover

compensable damages caused by Defendants’ violations of the federal securities

laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

                        JURISDICTION AND VENUE

      2.     The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

      3.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.

§78aa).




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       4.   Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged

misstatements entered and the subsequent damages took place in this judicial

district.

       5.   In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of the national securities

exchange.

                                    PARTIES

       6.   Plaintiff, as set forth in the accompanying certification, incorporated

by reference herein, purchased Kanzhun securities during the Class Period and

was economically damaged thereby.

       7.   Defendant Kanzhun operates an online recruitment platform, BOSS

Zhipin, which is a mobile-native product that promotes instant direct chats

between employers and job seekers, delivers matching results, and is powered by

proprietary artificial intelligence (“AI”) algorithms and big data insights.

According to a China Insights Consultancy report in March 2021 cited in the

Prospectus (defined below), in 2020, Kanzhun operated the largest recruitment




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platform in the People’s Republic of China (“PRC”), measured by average

monthly average users.

      8.    Defendant Kanzhun is incorporated in the Cayman Islands and its

head office is located at 18/F, GrandyVic Building, Taiyanggong Middle Road,

Chaoyang District, Beijing 100020, PRC. Kanzhun’s securities trade on NASDAQ

under the ticker symbol “BZ.”

      9.    Defendant Peng Zhao (“Zhao”) served as the Company’s Executive

Officer (“CEO”) and Chairman during the Class Period. Defendant Zhao signed

the Registration Statement.

      10.   Defendant Yu Zhang (“Zhang”) served as the Company’s Chief

Financial Officer and as a Director during the Class Period. Defendant Zhang

signed the Registration Statement.

      11.   Defendant Xu Chen (“Chen”) served as the Company’s Chief

Marketing Officer and as a Director during the Class Period. Defendant Chen

signed the Registration Statement.

      12.   Defendant Tao Zhang (“T. Zhang”) served as the Company’s Chief

Technology Officer and as a Director during the Class Period. Defendant T. Zhang

signed the Registration Statement.

      13.   Defendants Zhao, Zhang, Chen, and T. Zhang are collectively

referred to herein as the “Individual Defendants.”


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      14.   Each of the Individual Defendants:

            (a)    directly participated in the management of the Company;

            (b)    was directly involved in the day-to-day operations of the

                   Company at the highest levels;

            (c)    was privy to confidential proprietary information concerning

                   the Company and its business and operations;

            (d)    was directly or indirectly involved in drafting, producing,

                   reviewing and/or disseminating the false and misleading

                   statements and information alleged herein;

            (e)    was directly or indirectly involved in the oversight or

                   implementation of the Company’s internal controls;

            (f)    was aware of or recklessly disregarded the fact that the false

                   and misleading statements were being issued concerning the

                   Company; and/or

            (g)    approved or ratified these statements in violation of the federal

                   securities laws.

      15.   Defendant Kanzhun is liable for the acts of the Individual Defendants

and its employees under the doctrine of respondeat superior and common law

principles of agency because all of the wrongful acts complained of herein were

carried out within the scope of their employment.


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      16.    The scienter of the Individual Defendants and other employees and

agents of the Company is similarly imputed to Kanzhun under respondeat

superior and agency principles.

      17.    Defendant Kanzhun and the Individual Defendants are collectively

referred to herein as “Defendants.”

                         SUBSTANTIVE ALLEGATIONS
                        Materially False and Misleading
                   Statements Issued During the Class Period
      18.    On May 21, 2021, Kanzhun filed with the SEC a registration

statement on Form F-1, which in combination with subsequent amendments on

Forms F-1/A and filed pursuant to Rule 424(b)(4), are collectively referred to as

the Registration Statement and issued in connection with the initial public offering

(“IPO”). On June 23, 2021, Kanzhun filed with the SEC its final prospectus for its

IPO on Form 424B4 (the “Prospectus”), which forms part of the Registration

Statement. In the IPO Kanzhun sold approximately 48,000,000 American

Depositary Shares (“ADSs”) at $19.00 per ADS.

      19.    The Registration Statement stated the following, in relevant part,

regarding the technology-based regulatory environment concerning Kanzhun’s

activities in the PRC:

      Regulations Relating to Information Security and Censorship

      Internet content in China is regulated and restricted from a state
      security standpoint. The SCNPC [Standing Committee of the National

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    People’s Congress] enacted the Decisions on the Maintenance of
    Internet Security on December 28, 2000, which was latest amended on
    August 27, 2009, providing that the following activities conducted
    through the internet are subject to criminal liabilities: (i) gaining
    improper entry into any of the computer information networks relating
    to state affairs, national defensive affairs, or cutting-edge science and
    technology; (ii) violation of relevant provisions of the State in the
    form of unauthorized interruption of any computer network or
    communication service, as a result of which the computer network or
    communication system cannot function normally; (iii) spreading
    rumor, slander or other harmful information via the internet for the
    purpose of inciting subversion of the state political power;
    (iv) stealing or divulging state secrets, intelligence or military secrets
    via internet; (v) spreading false or inappropriate commercial
    information; or (vi) infringing on the intellectual property.

    On November 7, 2016, the SCNPC promulgated the Cyber Security
    Law of the People’s Republic of China, which became effective on
    June 1, 2017, pursuant to which, network operators shall comply with
    laws and regulations and fulfill their obligations to safeguard security
    of the network when conducting business and providing services.
    Those who provide services through networks including us shall
    take technical measures and other necessary measures pursuant to
    laws, regulations and compulsory national requirements to
    safeguard the safe and stable operation of the networks, respond to
    network security incidents effectively, prevent illegal and criminal
    activities, and maintain the integrity, confidentiality and usability of
    network data, and the network operator shall prevent network data
    from being divulged, stolen or falsified. In addition, any network
    operator to collect personal information shall follow the principles of
    legitimacy, rationality and necessity and shall not collect or use any
    personal information without due authorization of the person whose
    personal information is collected, and network operators of key
    information infrastructure shall store within the territory of the
    PRC all the personal information and important data collected and
    produced within the territory of PRC.

    On June 22, 2007, the Ministry of Public Security, the National
    Administration of State Secrets Protection, the State Cipher Code
    Administration and the Information Office of the State Council

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    (repealed) promulgated the Administrative Measures for the Graded
    Protection of Information Security, effective from June 22, 2007,
    pursuant to which, graded protection of the state information security
    shall follow the principle of “independent grading and independent
    protection”, and the security protection grade of an information
    system shall be determined according to such factors as its level of
    importance in national security, economic development and social
    livelihood as well as its level of damage to national security, social
    order, public interests and the legitimate rights and interests of
    citizens, legal persons and other organizations in case it is destroyed,
    accordingly the security protection grade of an information system
    may be classified into five grades. The entities operating the
    information systems shall determine the security protection grade of
    the information system pursuant to the Measures for the Graded
    Protection and the Guidelines for Grading of Classified Protection
    of Cyber Security, and report the grade to the relevant department
    for examination and approval.

    On April 13, 2020, the CAC [Cyberspace Administration of China],
    NDRC [National Development and Reform Commission], MIIT
    [Ministry of Industry and Information Technology] and other nine
    promulgation authorities issued the Cybersecurity Review Measures,
    effective on June 1, 2020, which stipulate that the cybersecurity
    review shall focus on the evaluation of possible risks to national
    security caused by the purchase of the network product or service,
    also provide for more detailed rules regarding cybersecurity review
    requirements.

    In addition, Online Recruitment Regulations provide that HR
    services agencies engaging in online recruitment services shall, in
    accordance with the requirements under the PRC laws and
    regulations related to national cybersecurity and cybersecurity
    graded protection systems, strengthen cybersecurity management,
    perform cybersecurity protection obligations, and adopt technical or
    other necessary measures to ensure the security of recruitment
    service network, information system and users’ information.
    Moreover, HR services agencies shall establish and improve their
    users’ information protection system for online recruitment services,
    and shall not disclose, divulge, damage or illegally sell or provide to
    any person, such information as the citizen identification number, age,

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    gender, address, contact information of an individual or any
    information on business situations of an employer. If such agencies
    provide any personal information or important data collected or
    generated within the PRC to any overseas party due to their business
    operation, such provision shall abide by applicable PRC laws and
    regulations.

    Regulations Relating to Privacy Protection

    Pursuant to the Civil Code, the personal information of a natural
    person shall be protected by the law. …

    On December 13, 2005, the Ministry of Public Security issued the
    Regulations on Technological Measures for Internet Security
    Protection, or the Internet Protection Measures, which took effect on
    March 1, 2006. The Internet Protection Measures require Internet
    service providers including us to take proper measures including anti-
    virus, data back-up and other related measures, and to keep records of
    certain information about their users (including user registration
    information, log-in and log-out time, IP [Internet Protocol] address,
    content and time of posts by users) for at least 60 days, and detect
    illegal information, stop transmission of such information, and keep
    relevant records. Internet services providers including us are
    prohibited from unauthorized disclosure of users’ information to
    any third parties unless such disclosure is required by the laws and
    regulations. They are further required to establish management
    systems and take technological measures to safeguard the freedom
    and secrecy of the users’ correspondences.

    In December 28, 2012, the SCNPC promulgated the Decision on
    Strengthening Network Information Protection to enhance the legal
    protection of information security and privacy on the internet. In
    July 16, 2013, the MIIT promulgated the Provisions on Protection of
    Personal Information of Telecommunication and Internet Users to
    regulate the collection and use of users’ personal information in the
    provision of telecommunication services and Internet information
    services in China and the personal information includes a user’s name,
    birth date, identification card number, address, phone number, account
    name, password and other information that can be used for identifying
    a user. Telecommunication business operators and Internet service

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     providers are required to constitute their own rules for the collecting
     and use of users’ information and they cannot collect or use of user’s
     information without users’ consent. Telecommunication business
     operators and Internet service providers must specify the purposes,
     manners and scopes of information collection and uses, obtain consent
     of the relevant citizens, and keep the collected personal information
     confidential. Telecommunication business operators and Internet
     service providers are prohibited from disclosing, tampering with,
     damaging, selling or illegally providing others with, collected
     personal information. Telecommunication business operators and
     Internet service providers are required to take technical and other
     measures to prevent the collected personal information from any
     unauthorized disclosure, damage or loss.

     On December 29, 2011, the MIIT promulgated the Several Provisions
     on Regulation of the Order of Internet Information Service Market,
     which became effective on March 15, 2012. The Provisions stipulate
     that without the consent of users, Internet information service
     providers shall not collect information relevant to the users that can
     lead to the recognition of the identity of the users independently or in
     combination with other information (hereinafter referred to as
     “personal information of users”), nor shall they provide personal
     information of users to others, unless otherwise provided by laws and
     administrative regulations. The Provisions also requires that Internet
     information service providers shall properly keep the personal
     information of users; if the preserved personal information of users is
     divulged or may possibly be divulged, Internet information service
     providers shall immediately take remedial measures; where such
     incident causes or may cause serious consequences, they shall
     immediately report the same to the telecommunications administration
     authorities that grant them with the Internet information service
     license or filing and cooperate in the investigation and disposal carried
     out by relevant departments. Failure to comply with such
     requirements may result in a fine between RMB10,000 and
     RMB30,000 and an announcement to the public. According to the
     Cyber Security Law of the People’s Republic of China, network
     operator shall not collect personal information irrelevant to the
     services it provides or collect or use personal information in violation
     of the provisions of laws or agreements between both parties.


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      On May 8, 2017, the Supreme People’s Court and the Supreme
      People’s Procuratorate released the Interpretations of the Supreme
      People’s Court and the Supreme People’s Procuratorate on Several
      Issues Concerning the Application of Law in the Handling of Criminal
      Cases Involving Infringement of Citizens’ Personal Information, or
      the Interpretations, effective from June 1, 2017. The Interpretations
      clarify several concepts regarding the crime of “infringement of
      citizens’ personal information” stipulated by Article 253A of the
      Criminal Law of the People’s Republic of China, including “citizen’s
      personal information”, “provision”, and “unlawful acquisition”. Also,
      the Interpretations specify the standards for determining “serious
      circumstances” and “particularly serious circumstances” of this crime.
      In addition, the Office of the Central Cyberspace Affairs Commission,
      the MIIT, the Ministry of Public Security, and the SAMR [State
      Administration for Market Regulation] jointly issued an
      Announcement of Launching Special Crackdown Against Illegal
      Collection and Use of Personal Information by Apps on January 23,
      2019 to implement special rectification works against mobile Apps
      that collect and use personal information in violation of applicable
      laws and regulations, where business operators are prohibited from
      collecting personal information irrelevant to their services, or forcing
      users to give authorization in disguised manner.

      (Emphasis added.)


      20.   Instead of specifically revealing the CAC’s positions and discussions

with the Company regarding its data security and cybersecurity issues, the

Prospectus merely stated the following, in pertinent part, regarding the risks

related to data security, cybersecurity, and relevant PRC regulations in general

means:

             Our business depends on the continued success of our brands,
      and if we fail to maintain and enhance the recognition of our
      brands cost-effectively, or the recognition of our brands is adversely
      affected by any negative publicity concerning us or our directors,

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     management, shareholders or business partners, our reputation and
     operating results may be harmed.

            We believe that maintaining and enhancing our brands is
     important to the success of our business. Well-recognized brands are
     critical to increasing the number and the level of engagement of our
     users. Since we operate in a competitive industry, brand maintenance
     and enhancement also directly affect our ability to maintain our
     market position. We have continued to exercise strict quality control
     on our online recruitment platform to ensure that our brand image is
     not tarnished by substandard services. …

           Moreover, any negative publicity relating to our company,
     services or our directors, management, shareholders or business
     partners, regardless of its veracity, could harm our brands and the
     perception of our brands in the market. As our business expands and
     grows, we may be exposed to heightened public scrutiny in markets
     where we already operate as well as in new markets where we may
     operate. We could become a target for regulatory or public scrutiny
     in the future and scrutiny and public exposure could severely
     damage our reputation as well as our business and prospects.

            … We may be subject to government or regulatory
     investigation or third-party claims as a result and we may be
     required to spend significant time and incur substantial costs to
     react to and address these consequences. There is no assurance that
     we will be able to effectively refute each of the allegations within a
     reasonable period of time, or at all. Additionally, public allegations,
     directly or indirectly, against us or our directors, management,
     shareholders or business partners, may be posted online by anyone on
     an anonymous basis. The availability of information on social media
     platforms is virtually immediate, as is its impact. Social media
     platforms may not necessarily filter or check the accuracy of
     information before publishing them, and we may be afforded little or
     no time to respond. As a result, our reputation may be materially and
     adversely affected, our ability to attract and retain users and maintain
     our market share may suffer, and our financial conditions may
     deteriorate.



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                               *     *        *

            Because we store and process data, some of which contains
     sensitive personal information, we face concerns over the collection,
     improper use or disclosure of personal information, which could
     deter current and potential users from using our services, damage
     our reputation, result in legal liability, bring regulatory scrutiny,
     and in turn materially and adversely affect our business, financial
     condition and results of operations.

            We are subject to the laws, regulations, guidelines and
     industry recommendations relating to the protection of personal
     information in China, which covers areas such as the collection,
     storage, processing or use of such personal information. For
     example, under the Cyber Security Law of the People’s Republic of
     China that became effective on June 1, 2017, network service
     providers have various personal information security protection
     obligations, including restrictions on the collection and use of
     personal information of users, and they are required to take steps to
     prevent personal data from being divulged, stolen, or tampered with.
     See also “Regulation—Regulations Relating to Privacy Protection.”
     Any concerns or claims about our practices with regard to the
     collection, storage, processing or use of personal information or other
     privacy-related matters, even if ungrounded, could damage our
     reputation and results of operations.

            In particular, if we fail to secure our users’ identity and protect
     their identity-specific data, including but not limited to name,
     education background, employment status, recent employment history
     of job seekers and business license information of enterprise users,
     our users may be vulnerable to insults, harassment, blackmails or
     physical injuries, and their family, property and other assets may also
     be put at risk. As a result, we may be held liable for these incidents,
     and our users may feel insecure and cease to use our online
     recruitment platform. Our reputation may also be seriously harmed
     and we may be unable to retain and attract users, which would in turn
     have a material adverse effect on our business and results of
     operations. …



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            In addition, regulatory requirements regarding the protection of
     personal information are constantly evolving and can be subject to
     different interpretations or significant change from time to time,
     making the extent of our responsibilities in that regard uncertain. An
     example of such evolving regulatory requirements is the Draft Law of
     Personal Information Protection, which was published for public
     comments on October 21, 2020. When it is passed in the future, this
     law will function jointly with the Cyber Security Law to regulate
     China’s online spheres in relation to personal information protection.
     Our practice may become inconsistent with these laws and
     regulations. If so, in addition to the possibility of fines, this could
     result in an order requiring that we change our practices, which
     could have an adverse effect on our business and results of
     operations. Complying with new data privacy and information
     security laws and regulations could cause us to incur substantial costs
     or require us to change our business practices in a manner materially
     adverse to our business. See also “—Risks Relating to Doing Business
     in China—Uncertainties with respect to the PRC legal system could
     adversely affect us.”

                              *     *        *

           Any lack of or failure to maintain requisite approvals, licenses
     or permits applicable to our business may have a material and
     adverse impact on our business, financial condition and results of
     operations, and compliance with applicable laws or regulations may
     require us to obtain additional approvals or licenses or change our
     business model.

            Our business is subject to supervision and regulation by various
     governmental authorities in China. These governmental authorities
     include the CAC, The Ministry of Commerce, or MOFCOM, the
     Ministry of Industry and Information Technology, or the MIIT, the
     State Administration for Market Regulation, or the SAMR, the
     Ministry of Culture and Tourism, or the MCT, the National Radio and
     Television Administration, and their corresponding local regulatory
     authorities. These governmental authorities promulgate and enforce
     laws and regulations that cover a variety of business activities that
     relating to our operations, such as provision of internet information,
     among other things. These regulations in general regulate the entry

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     into, the permitted scope of, as well as approvals, licenses and permits
     for, the relevant business activities.

                              *      *        *

           Our business is subject to the complex and evolving laws and
     regulations in China. Many of these laws and regulations are
     subject to change and uncertain interpretation, and could result in
     claims, changes to our business practices, monetary penalties,
     increased cost of operations, or declines in user growth or
     engagement, or otherwise harm our business.

            We are subject to a variety of laws and regulations that involve
     matters important to or may otherwise impact our business, including,
     among others, provision of value-added telecommunications services,
     talent intermediary services, information security and censorship,
     foreign exchange and taxation. See also “Regulation.” The
     introduction of new products and services may subject us to additional
     laws, regulations, or other government scrutiny.

            These laws and regulations are continually evolving and may
     change significantly. As a result, the application, interpretation, and
     enforcement of these laws and regulations are often uncertain,
     particularly in the rapidly evolving industry in which we operate. In
     addition, these laws and regulations may be interpreted and applied
     inconsistently by different agencies or authorities, and inconsistently
     with our current policies and practices. These laws and regulations
     may also be costly to comply with, and such compliance or any
     associated inquiries or investigations or any other government actions
     may

           •      delay or impede our development of new services,

           •      result in negative publicity, increase our operating
                  costs,

           •      require significant         management   time   and
                  attention, and

           •      subject us to remedies, administrative penalties

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                  and even criminal liabilities that may harm our
                  business, including fines assessed for our current
                  or historical operations, or demands or orders that
                  we modify or cease existing business practices.

            The promulgation of new laws or regulations, or the new
     interpretation of existing laws and regulations, in each case that
     restrict or otherwise unfavorably impact the ability or manner in
     which we provide our services could require us to change certain
     aspects of our business to ensure compliance, which could decrease
     demand for our products and services, reduce revenues, increase costs,
     require us to obtain more licenses, permits, approvals or certificates,
     or subject us to additional liabilities. To the extent any new or more
     stringent measures are required to be implemented, our business,
     financial condition and results of operations could be adversely
     affected.

                                 *     *      *

           Risks Relating to Doing Business in China

           Uncertainties with respect to the PRC legal system could
     adversely affect us.

            … The PRC legal system is evolving rapidly, and the
     interpretations of many laws, regulations and rules may contain
     inconsistencies and enforcement of these laws, regulations and rules
     involves uncertainties.

            Our WFOE [wholly foreign-owned enterprise; Beijing
     Glorywolf Co., Ltd.] is a foreign-invested enterprise and is subject to
     laws and regulations applicable to foreign-invested enterprises, and
     our WFOE and our VIE [variable interest entity; Beijing Huapin
     Borui Network Technology Co., Ltd.] are also subject to various
     Chinese laws and regulations generally applicable to companies
     incorporated in China. However, since these laws and regulations are
     relatively new and the PRC legal system continues to rapidly evolve,
     the interpretations of many laws, regulations and rules are not always
     uniform and enforcement of these laws, regulations and rules involves
     uncertainties.

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             From time to time, we may have to resort to administrative and
      court proceedings to enforce our legal rights. However, since PRC
      administrative and court authorities have significant discretion in
      interpreting and implementing statutory and contractual terms, it may
      be more difficult to evaluate the outcome of administrative and court
      proceedings and the level of protection we enjoy than in more
      developed legal systems. Furthermore, the PRC legal system is based
      in part on government policies and internal rules, some of which are
      not published on a timely basis or at all, and which may have a
      retroactive effect. As a result, we may not be aware of our violation of
      any of these policies and rules until sometime after the violation. In
      addition, any administrative and court proceedings in China may be
      protracted, resulting in substantial costs and diversion of resources
      and management attention. Such uncertainties, including uncertainty
      over the scope and effect of our contractual, property (including
      intellectual property) and procedural rights, and any failure to respond
      to changes in the regulatory environment in China could materially
      and adversely affect our business and impede our ability to continue
      our operations.

      (Emphasis added.)

      21.    While neglecting to warn investors of its clear data security and

cybersecurity issues, the Prospectus noted the importance and risks of failing to

provide job seekers and employers a growing and active service, stating the

following, in pertinent part:

            If user traffic to our online recruitment platform stagnates or
      declines for any reason, our operating and financial prospects may
      be harmed.

             Our ability to attract and maintain user traffic to our online
      recruitment platform is important for our continuing growth. If user
      traffic to our online recruitment platform declines for any reason,
      our business and results of operations may be harmed. We depend in
      part on various app stores, online articles, internet search engines and

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     portals to direct a significant amount of user traffic to our mobile
     applications and websites. However, the amount of user traffic
     directed to our mobile applications and websites is not entirely within
     our control. Our competitors’ better relationship with certain app
     stores or social media platforms, greater online presence or news
     coverage, and more search engine optimization efforts may result in
     their mobile applications and websites receiving more directed user
     traffic or a higher search result page ranking than ours. App stores
     could recommend mobile applications from our competitors more
     prominently than they do ours, social media platforms may direct
     more attention to products and services from our competitors, and
     internet search engines could revise their methodologies, which may
     adversely affect the placement of our search result page ranking. Any
     such changes could decrease user traffic to our mobile applications
     and websites and adversely affect the growth of our user base, which
     may in turn harm our business and operating results.

                                 *     *      *

           Our online recruitment platform depends on effective
     interoperation with mobile and computer operating systems,
     hardware, networks, regulations, and standards that we do not
     control. Changes in our online recruitment platform or to those
     operating systems, hardware, networks, regulations, or standards
     may seriously harm our user retention, growth, and engagement.
     Our business depends on our ability to maintain and scale our
     technology infrastructure. Any service disruption in our services
     could damage our reputation, result in a potential loss of users and
     decrease in user engagement, and seriously harm our business.

            … To deliver high quality products and services through our
     online recruitment platform, it is crucial that our online recruitment
     platform works well with a range of mobile technologies, systems,
     networks, regulations and standards that we do not control. In
     particular, any future changes to iOS or Android operating systems
     may impact the accessibility, speed, functionality and other
     performance aspects of our online recruitment platform.

           Our business and the continuing performance, reliability and
     availability of our technology systems and online recruitment platform

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     also depend on the performance and reliability of China’s internet,
     mobile, and other infrastructures that are not under our control.
     Disruptions in internet infrastructure or the failure of
     telecommunications network operators to provide us with the
     bandwidth needed to provide our products and services may interfere
     with the speed and availability of our products and services on our
     online recruitment platform. If our online recruitment platform is
     unavailable when users attempt to access them, or if our online
     recruitment platform does not respond as quickly as users expect,
     users may not return to use our online recruitment platform as often
     in the future, or at all, and may use our competitors’ products or
     services instead.

                              *     *        *

           We are dependent on app stores to distribute our mobile
     applications.

            We offer our online recruitment services through our online
     recruitment platform, an important component of which is our mobile
     applications. Our mobile applications are offered via app stores
     operated by third parties, such as Apple App Store and various
     Android app stores, which could suspend or terminate our users’
     access to our mobile applications, increase access costs or change the
     terms of access in a way that makes our mobile applications less
     desirable or harder to access. As such, the promotion, distribution and
     operation of our mobile applications are subject to such distribution
     platforms’ standard terms and policies for application developers,
     which are subject to the interpretation of, and frequent changes by,
     these distribution channels. If Apple’s App Store or any Android app
     stores interpret or change their standard terms and conditions in a
     manner that is detrimental to us, or terminate their existing
     relationship with us, our business, financial condition and results of
     operations may be materially and adversely affected. In the future, it
     is possible that compliance requirements of app stores may cause us
     to suspend our mobile applications from such stores. As a result, our
     ability to expand our user base may be hindered if potential users
     experience difficulties in or are barred from accessing our mobile
     applications. Any such incident may adversely affect our brands and
     reputation, business, financial condition and results of operations.

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      (Emphasis added.)

      22.   Finally, the Prospectus stated the following, in relevant part, affirming

the Company’s current data security, cybersecurity, and lack of regulatory issues:


      Data Security and Privacy

      We have implemented internal procedures and controls to
      adequately protect user data. We utilize a variety of technology
      solutions to detect risks and vulnerabilities in user privacy and data
      security, such as encryption, firewall, vulnerability scanning and log
      audit. We have established stringent internal protocols under which
      we grant classified access to confidential personal data only to limited
      number of employees with strictly defined and layered access right.
      We strictly control and manage the use of data within different
      internal departments and do not share data with external third parties.
      In addition, we conduct regular data security stress tests performed by
      our information security department as well as third-party testing
      agencies.

                                  *      *     *

      From time to time, the Group is subject to legal proceedings,
      investigations and claims incidental to the conduct of its business. As
      of December 31, 2020 and March 31, 2021, the Group was not
      involved in any legal or administrative proceedings that the Group
      believes may have a material adverse impact on the Group’s
      business, balance sheets or results of operations and cash flows.

      (Emphasis added.)


      23.   The statements contained in ¶¶ 19-22 were materially false and/or

misleading because they misrepresented and failed to disclose the following

adverse facts pertaining to the Company’s business, operations and prospects,

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which were known to Defendants or recklessly disregarded by them. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that:

(1) Kanzhun would face an imminent cybersecurity review by the CAC; (2) the

CAC would require Kanzhun to suspend new user registration on its BOSS Zhipin

app; (3) Kanzhun needed to “to conduct a comprehensive examination of

cybersecurity risks”; (4) Kanzhun needed to “enhance its cybersecurity awareness

and technology capabilities”; and (5) as a result, Defendants’ statements about its

business, operations, and prospects, were materially false and misleading and/or

lacked a reasonable basis at all relevant times.

                            THE TRUTH EMERGES

      24.    On July 5, 2021, Kanzhun issued a press release entitled “KANZHUN

LIMITED Announces Cybersecurity Review in China” which announced in

pertinent part:

      pursuant to the announcement posted by the Cyberspace
      Administration of China on July 5, 2021, the Company is subject to
      cybersecurity review by the authority. During the review period,
      “BOSS Zhipin” app is required to suspend new user registration in
      China to facilitate the process.

      The Company will fully cooperate with the PRC government
      authority during the review process. The Company plans to conduct a
      comprehensive examination of cybersecurity risks and continue to
      enhance its cybersecurity awareness and technology capabilities.

      (Emphasis added.)



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      25.    On this news, Kanzhun’s ADS price fell $5.79 per ADS, or 15%, to

close at $30.52 per ADS on July 6, 2021, the next trading day, damaging

investors.

      26.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

      27.    Plaintiff brings this action as a class action pursuant to Federal Rule

of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons

other than defendants who acquired Kanzhun securities publicly traded on

NASDAQ during the Class Period, and who were damaged thereby (the “Class”).

Excluded from the Class are Defendants, the officers and directors of Kanzhun,

members of the Individual Defendants’ immediate families and their legal

representatives, heirs, successors or assigns and any entity in which Defendants

have or had a controlling interest.

      28.    The members of the Class are so numerous that joinder of all

members is impracticable. Throughout the Class Period, Kanzhun securities were

actively traded on NASDAQ. While the exact number of Class members is

unknown to Plaintiff at this time and can be ascertained only through appropriate




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discovery, Plaintiff believes that there are hundreds, if not thousands of members

in the proposed Class.

      29.    Plaintiff’s claims are typical of the claims of the members of the

Class as all members of the Class are similarly affected by Defendants’ wrongful

conduct in violation of federal law that is complained of herein.

      30.    Plaintiff will fairly and adequately protect the interests of the

members of the Class and has retained counsel competent and experienced in class

and securities litigation. Plaintiff has no interests antagonistic to or in conflict with

those of the Class.

      31.    Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of

the Class. Among the questions of law and fact common to the Class are:

      •      whether the Exchange Act was violated by Defendants’ acts as

             alleged herein;

      •      whether statements made by Defendants to the investing public

             during the Class Period misrepresented material facts about the

             business and financial condition of Kanzhun;

      •      whether Defendants’ public statements to the investing public during

             the Class Period omitted material facts necessary to make the




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             statements made, in light of the circumstances under which they were

             made, not misleading;

      •      whether the Defendants caused Kanzhun to issue false and

             misleading filings during the Class Period;

      •      whether Defendants acted knowingly or recklessly in issuing false

             filings;

      •      whether the prices of Kanzhun securities during the Class Period

             were artificially inflated because of the Defendants’ conduct

             complained of herein; and

      •      whether the members of the Class have sustained damages and, if so,

             what is the proper measure of damages.

      32.    A class action is superior to all other available methods for the fair

and efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to

them. There will be no difficulty in the management of this action as a class

action.

      33.    Plaintiff will rely, in part, upon the presumption of reliance

established by the fraud-on-the-market doctrine in that:

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      •      Kanzhun ADSs met the requirements for listing, and were listed and

             actively traded on NASDAQ, an efficient market;

      •      As a public issuer, Kanzhun filed public reports;

      •      Kanzhun communicated with public investors via established market

             communication         mechanisms,     including    through       the     regular

             dissemination of press releases via major newswire services and

             through       other   wide-ranging     public     disclosures,         such   as

             communications with the financial press and other similar reporting

             services;

      •      Kanzhun’s securities were liquid and traded with moderate to heavy

             volume during the Class Period; and

      •      Kanzhun was followed by a number of securities analysts employed

             by major brokerage firms who wrote reports that were widely

             distributed and publicly available.

      34.    Based on the foregoing, the market for Kanzhun securities promptly

digested current information regarding Kanzhun from all publicly available

sources and reflected such information in the prices of the ADSs, and Plaintiff and

the members of the Class are entitled to a presumption of reliance upon the

integrity of the market.




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        35.   Alternatively, Plaintiff and the members of the Class are entitled to

the presumption of reliance established by the Supreme Court in Affiliated Ute

Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants

omitted material information in their Class Period statements in violation of a duty

to disclose such information as detailed above.

                                  COUNT I
  For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                           Against All Defendants
        36.   Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

        37.   This Count is asserted against Defendants is based upon Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        38.   During the Class Period, Defendants, individually and in concert,

directly or indirectly, disseminated or approved the false statements specified

above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in

order to make the statements made, in light of the circumstances under which they

were made, not misleading.

        39.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that

they:


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            •      employed devices, schemes and artifices to defraud;

            •      made untrue statements of material facts or omitted to state

                   material facts necessary in order to make the statements made,

                   in light of the circumstances under which they were made, not

                   misleading; or

            •      engaged in acts, practices and a course of business that operated

                   as a fraud or deceit upon plaintiff and others similarly situated

                   in connection with their purchases of Kanzhun securities during

                   the Class Period.

      40.   Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of Kanzhun were

materially false and misleading; knew that such statements or documents would be

issued or disseminated to the investing public; and knowingly and substantially

participated, or acquiesced in the issuance or dissemination of such statements or

documents as primary violations of the securities laws. These defendants by virtue

of their receipt of information reflecting the true facts of Kanzhun, their control

over, and/or receipt and/or modification of Kanzhun’s allegedly materially

misleading statements, and/or their associations with the Company which made

them privy to confidential proprietary information concerning Kanzhun,

participated in the fraudulent scheme alleged herein.


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       41.     Individual Defendants, who are the senior officers and/or directors of

the Company, had actual knowledge of the material omissions and/or the falsity of

the material statements set forth above, and intended to deceive Plaintiff and the

other members of the Class, or, in the alternative, acted with reckless disregard for

the truth when they failed to ascertain and disclose the true facts in the statements

made by them or other Kanzhun personnel to members of the investing public,

including Plaintiff and the Class.

       42.    As a result of the foregoing, the market price of Kanzhun securities

was artificially inflated during the Class Period. In ignorance of the falsity of

Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of Kanzhun

securities during the Class Period in purchasing Kanzhun securities at prices that

were artificially inflated as a result of Defendants’ false and misleading

statements.

       43.    Had Plaintiff and the other members of the Class been aware that the

market price of Kanzhun securities had been artificially and falsely inflated by

Defendants’ misleading statements and by the material adverse information which

Defendants did not disclose, they would not have purchased Kanzhun securities at

the artificially inflated prices that they did, or at all.




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        44.   As a result of the wrongful conduct alleged herein, Plaintiff and

other members of the Class have suffered damages in an amount to be established

at trial.

        45.   By reason of the foregoing, Defendants have violated Section 10(b)

of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the

plaintiff and the other members of the Class for substantial damages which they

suffered in connection with their purchase of Kanzhun securities during the Class

Period.

                                    COUNT II
                 Violations of Section 20(a) of the Exchange Act
                       Against the Individual Defendants
        46.   Plaintiff repeats and realleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

        47.   During the Class Period, the Individual Defendants participated in the

operation and management of Kanzhun, and conducted and participated, directly

and indirectly, in the conduct of Kanzhun’s business affairs. Because of their

senior positions, they knew the adverse non-public information about Kanzhun’s

misstatement of revenue and profit and false financial statements.

        48.   As officers and/or directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information

with respect to Kanzhun’s financial condition and results of operations, and to


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correct promptly any public statements issued by Kanzhun which had become

materially false or misleading.

      49.    Because of their positions of control and authority as senior officers,

the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which Kanzhun disseminated in the

marketplace during the Class Period concerning Kanzhun’s results of operations.

Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause Kanzhun to engage in the wrongful acts complained of herein.

The Individual Defendants therefore, were “controlling persons” of Kanzhun

within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market

price of Kanzhun securities.

      50.    By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by

Kanzhun.

                               PRAYER FOR RELIEF

      WHEREFORE, plaintiff, on behalf of himself and the Class, prays for

judgment and relief as follows:

      (a)    declaring this action to be a proper class action, designating plaintiff

as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of


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the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead

Counsel;

      (b)    awarding damages in favor of plaintiff and the other Class members

against all defendants, jointly and severally, together with interest thereon;

      (c)    awarding plaintiff and the Class reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      (d)    awarding plaintiff and other members of the Class such other and

further relief as the Court may deem just and proper.

                           JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.



Dated: July 12, 2021                    THE ROSEN LAW FIRM, P.A

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